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                                  2022-2079

                ©uiteti States Court of Appeals
                    for tfje jfeberal Circuit

                               RIMCO, INC.,
                                                  Plaintiff-Appellant,
                                      v.
                             UNITED STATES,
                                                  Defendant-Appellee.



          Appeal from the United States Court of International Trade,
               No. 21-cv-00537, Chief Judge Mark A. Barnett



                REPLY BRIEF OF PLAINTIFF-APPELLANT,
                            RIMCO, INC.




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March 8, 2023
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FORM 9. Certificate of Interest                                                   Form 9 (p. 1)
                                                                                     July 2020


                     UNITED STATES COURT OF APPEALS
                        FOR THE FEDERAL CIRCUIT
                                  CERTIFICATE OF INTEREST

            Case Number 2022-2079
   Short Case Caption Rimco Inc. v US
   Filing Party/Entity Rimco Inc.



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 specific as to which represented entities the answers apply; lack of specificity may
 result in non-compliance. Please enter only one item per box; attach
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FORM 9. Certificate of Interest                                                          Form 9 (p. 2)
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       1. Represented                     2. Real Party in            3. Parent Corporations
           Entities.                          Interest.                  and Stockholders.
   Fed. Cir. R. 47.4(a)(1).             Fed. Cir. R. 47.4(a)(2).        Fed. Cir. R. 47.4(a)(3).
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 by undersigned counsel in            for the entities. Do not        for the entities and all
 this case.                           list the real parties if        publicly held companies
                                      they are the same as the        that own 10% or more
                                      entities.                       stock in the entities.

                                      0 None/Not Applicable           0 None/Not Applicable

           Rimco Inc.




                                  □      Additional pages attached
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FORM 9. Certificate of Interest                                                  Form 9 (p. 3)
                                                                                    July 2020


 4. Legal Representatives. List all law firms, partners, and associates that (a)
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 entered an appearance in this court. Fed. Cir. R. 47.4(a)(4).
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                                    2022-2079

              ®niteb States Court of Appeals
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                                 RIMCO, INC.,
                                                   Plaintiff-Appellant,
                                        v.
                               UNITED STATES,
                                                   Defendant-Appellee.


           Appeal from the United States Court of International Trade,
                No. 21-cv-00537, Chief Judge Mark A. Barnett


               REPLY BRIEF OF PLAINTIFF-APPELLANT,
                           RIMCO, INC.

      Plaintiff-Appellant, Rimco, Inc. (“Rimco”) herewith replies to the response

brief of Defendant-Appellee, United States.


      This appeal is taken from the decision and judgment of the United States Court

of International Trade (“CIT”) in Rimco, Inc. v. United States, Slip Op. 22-79

(July 8, 2022), which held that the CIT lacked subject matter jurisdiction under 28

U.S.C. §§ 1581(a) and (i) to hear Rimco’s constitutional challenge to the exaction,
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by United States Customs and Border Protection (“Customs” or “CBP”), of anti­

dumping and countervailing duties claimed to constitute “excessive fines” in viola­

tion of the Eighth Amendment to the United States Constitution.


      The exactions, at combined rates of as much as 688% ad valorem, were based

on “adverse facts available” (“AFA”) determinations made by the United States De­

partment of Commerce, International Trade Administration (“Commerce” or

“ITA”), which directed CBP to exact the duties upon liquidation of Rimco’s entries.

As discussed herein, Section 776 of the Tariff Act, as amended by Section 502 of

the Trade Preferences Extension Act of 2015,19 U.S.C. § 1677e(d)(3), makes Com­

merce’s AFA rate determinations immune from attack by interested parties before

that agency, as well as from direct judicial review in a challenge brought pursuant

to 19 U.S.C. § 1516a and 28 U.S.C. § 1581(c). Notwithstanding the statute, however,

the Trade Court held that Rimco was required to raise its constitutional “excessive

fines” claims before Commerce in administrative annual review proceedings held

pursuant to 19 U.S.C. § 1675 and, upon conclusion of those proceedings, file suit in

the CIT under 19 U.S.C. § 1516a and 28 U.S.C. § 1581(c) to seek record review of

Commerce’s determination.


      The Trade Court erred in these holdings, since 19 U.S.C. § 1677e(d)(3) ex­

pressly shields Commerce from challenges to its AFA dumping and countervailing


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duty rates as being excessive. Indeed, given the unique wording of the statute, the

Trade Court would be powerless, in a case brought pursuant to its 28 U.S.C. §

1581(c) jurisdiction, to direct Commerce to make a finding as to whether an AFA

rate is excessive, much less an unconstitutional “excessive fine.”


       Second, even assuming Commerce were required to hear Rimco’s arguments,

participation in the annual review proceeding which gave rise to the challenged as­

sessments was impossible. Commerce published calculated AD and CVD rates in

its preliminary review decisions, first announcing the AFA rates in the final deter­

mination - by which time, the record for review was closed.


       With a challenge brought pursuant to 19 U.S.C. § 1516a and 28 U.S.C. §

1581(a) foreclosed, the next question is how Rimco should have brought this con­

stitutional challenge before the Trade Court-under its 28 U.S.C. § 1581(a) “protest”

jurisdiction or its 28 U.S.C. § 1581 (i) “residual” jurisdiction?


       Defendant devotes substantial argument to asserting that Rimco’s invocation

of the court’s 28 U.S.C. § 1581(a) protest jurisdiction was improper, since CBP

makes no protestable “decision” when it liquidates an import entry with an uncon-

stitutionally-excessive AD or CVD rate. But this argument overlooks three im­

portant facts. First, a protest raises a challenge to the liquidation of an entry “includ­

ing the legality of all orders and findings entering into the same.” See 19 U.S.C. §

                                            3
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1514(a). Such “orders” in this case include the Commerce-issued liquidation in­

structions which CBP carried out in liquidating Rimco’s entries. Second, the 2015

enactment of 19 U.S.C. § 1677e(d)(3) removed challenges to application of AFA

rates from the scope of 19 U.S.C. § 1514(b), which makes certain Commerce deci­

sions non-protestable.1 Third, Circuit precedent holds that constitutional challenges

to the exaction of monies by CBP may be challenged through protest. See, e.g.,

Swisher Int’l Inc. v. United States, 205 F.3d 1358, 1364-1365 (Fed. Cir. 2000).


      Finally, even if the Court concurs with defendant that there was no protestable

“decision” of CBP, the consequence would be that the Trade Court must then accept

jurisdiction over this action using its 28 U.S.C. § 1581(i) “residual jurisdiction,”

which empowers the court to hear, inter alia, actions concerning the “administration




      ' 19 U.S.C. § 1514(b) provides:
      (b)Finality of determinations
      With respect to determinations made under section 1303 [1] of this title
      or subtitle IV of this chapter which are reviewable under section
      1516a of this title, determinations of the Customs Service are final and
      conclusive upon all persons (including the United States and any officer
      thereof) unless a civil action contesting a determination listed in section
      1516a of this title is commenced in the United States Court of Interna­
      tional Trade, or review by a binational panel of a determination to
      which section 1516a(g)(2) of this title applies is commenced pursuant
      to section 1516a(g) of this title.
(emphasis added).
                                          4
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and enforcement” of matters embraced in the preceding subsections of that statute.

See 28 U.S.C. § 1581(i)(4).


       The CIT’s decision must be vacated, and this action remanded with directions

forthat court to entertain this challenge either under its 28 U.S.C. § 1581(a) “protest”

jurisdiction or its 28 U.S.C. § 1581 (i) “residual” jurisdiction.2

                                    ARGUMENT

I.     THE CIT INCORRECTLY HELD THAT THIS CASE COULD HAVE
       BEEN ENTERTAINED UNDER 19 U.S.C. § 1516A AND 28 U.S.C.
       §1581(C)

       Plaintiff Rimco, Inc., a North Dakota-based importer of Steel Wheels from the

People’s Republic of China, asserts a constitutional injury; the imposition of alleged

antidumping and countervailing duties in aggregate amounts as high as 688% ad

valorem. Rimco contends that these exactions, effected by CBP in the liquidation of

Rimco’s import entries, constitute “excessive fines” which violate the Eighth

Amendment of the United States Constitution.3




       2 Plaintiff filed this action in the Trade Court in a manner satisfying the proce­
dural requirements of both subsections of the statute.
       3 The Eighth Amendment provides:
       Excessive bail shall not be required, nor excessive fines imposed, nor cruel
       and unusual punishments inflicted.
U.S. Const, amend. VIII.
                                            5
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      Challenges to the constitutionality of government actions normally constitute

an exception to the usual requirement that a litigant exhaust administrative remedies

before proceeding to court. See, e.g., Barron v. Ashcroft, 358 F.3d 674, 678 (9th Cir.

2004). Still, in certain cases, parties raising a claim of Constitutional injury may be

required to exhaust administrative remedies before seeking judicial review. See, e.g.,

                                                           6 is more likely to be
Andrade v. Lauer, 729 F.2d 1475, 1484 (D.C. Cir. 1984).4 *This

required in cases of “as applied” constitutional challenges to the action of an agency

than in cases where a statute is claimed to be facially unconstitutional. See, e.g.,

Nufarm America’s, Inc. v. United States, 29 C.I.T. 1317, 1330 (2005). Rimco pur­

sued administrative remedies here, protesting CBP’s liquidation of its import entries

(a decision into which Commerce’s liquidation instructions merged) and upon denial

of its protest, invoking the CIT’s 28 U.S.C. § 1581(a) “protest denial” jurisdiction.

      It is also the law of this Circuit that, even where exhaustion of administrative

remedies is waivable, a litigant is not unsuited because it pursues such remedies.

See, e.g., Swisher Int’I Inc. v. United States, 205 F.3d 1358, 1364-1365 (Fed. Cir.

2000). Rimco here pursued the 19 U.S.C. § 1514(a) administrative protest remedy




4 The Court in Andrade v. Lauder 729 F.2d 1484 (D.C. Cir. 1984) noted:

      Exhaustion of available administrative remedies is in general a prereq­
      uisite to obtaining judicial relief for an actual or threatened injury.
      However, the exhaustion requirement is not in general jurisdictional in
      nature, but rather must be applied in accord with its purposes.
                                           6
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before coming to court. The question is whether Rimco pursued the correct admin­

istrative remedy. But should this Court determine that neither the Commerce review

procedure nor the Customs protest procedure was the correct remedial path, it fol­

lows that the Trade Court must entertain this action under its 28 U.S.C. § 1581 (i)

“residual” jurisdiction.

      A.     Section 776 of the Tariff Act of 1930, as amended by Section 502 of
             the Trade Preferences Expansion Act of 2015, Effectively Makes
             Commerce’s AFA Determinations Judicially Unreviewable in Ac­
             tions Commenced under 19 U.S.C. § 1516a and 28 U.S.C. § 1581(c).

      The Trade Court held that Rimco should have raised its constitutional claims

in the first instance by entering an appearance in the agency’s annual reviews of the

Steel Wheels from China antidumping and countervailing orders, and raising the

claims with Commerce. The Court then suggested that, if Rimco were dissatisfied

with Commerce’s determination, it could raise the matter with the CIT in a record

review action commenced pursuant to 19 U.S.C. § 1516a, over which the CIT would

have exercised jurisdiction pursuant to 28 U.S.C. § 1581(c).

      However, Commerce is by law shielded from having to consider challenges

to AFA rates. This is the result of enactment of Section 502(d)(3) of the Trade Pref­

erences Extension Act of 2015, Pub. L. 114-27, 129 Stat. 362 (2015), which is cod­

ified at 19 U.S.C. § 1677e(d)(3), and which provides:




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      (3) No obligation to make certain estimates or address certain
      claims

      If the administering authority uses an adverse inference under subsec­
      tion (b)(1)(A) in selecting among the facts otherwise available, the ad­
      ministering authority is not required, for purposes of subsection (c) or
      for any other purpose—

             (A) to estimate what the countervailable subsidy rate or dumping
             margin would have been if the interested party found to have
             failed to cooperate under subsection (b)(1) had cooperated; or

             (B) to demonstrate that the countervailable subsidy rate or dump­
             ing margin used by the administering authority reflects an al­
             leged commercial reality of the interested party.


See 19 U.S.C. § 1677e(d)(3) (emphasis added). To be clear, this remarkable statute,

(which authorizes a Federal agency to make taxing determinations free from consid­

erations of “commercial reality”), also shields Commerce from being required to

entertain challenges to AFA rates as being excessive.5 This would certainly include

challenges such as Rimco’s, which asserts that AFA rates are excessive because they

violate the “excessive fines” proscription of the Eighth Amendment.

      To be clear, § 1677e(d)(e) states that Commerce has “no obligation” to “ad­

dress certain claims” relating to AFA determinations, whether those claims are made

under 19 U.S.C. § 1677e(c) (requests to corroborate secondary information) or “for



       5 If an AFA rate did estimate the rate of a cooperating party, or did reflect a
commercial reality of an interested party, that rate would not reasonably be subject
to an Eighth Amendment challenge.
                                          8
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any other purpose”. This would include the present challenge, which alleges the

AFA rates exacted are so high as to be unconstitutional “excessive fines.”

      Accordingly, the Trade Court’s conclusion that Rimco was required first to

present to Commerce its claims that the AFA rates in question are unconstitutionally

excessive is plainly wrong, as a matter of law. Even were Commerce institutionally

competent to consider constitutional matters - which it is not - Commerce is by

statute immunized from having to consider such claims.6 There would be no agency

determination on the record of a Commerce proceeding concerning the constitution­

ality of its AFA determination that the Trade Court could review. Indeed, it is ques­

tionable whether the Trade Court could, under any circumstances, order Commerce

to consider a constitutionally-grounded challenge to an AFA rate. In effect, 19

U.S.C. § 1677e(d)(3) removes Rimco’s challenge from the purview of Commerce’s

decision-making and subsequent pre-enforcement judicial review of Commerce’s

determination pursuant to 19 U.S.C. § 1516a and 28 U.S.C. § 1581(c).7 Rimco’s

challenge must find another pathway to court.




       6 Indeed, since the statute effectively precludes challenges to Commerce’s cal­
culation of AFA rates, there is no reason to believe that the agency would even con­
sider a constitutional claim such as that brought by Rimco here. It would merely
uphold its determination as in conformity with the statute. Commerce’s remit does
not extend beyond the statute it is charged with administering.
     7 This action is effectively a challenge to the constitutionality of 19 U.S.C. §
1677e(d)(3) as applied.
                                          9
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      Separation of power concerns come into play here. The legislative branch has

provided by law that Commerce, an Executive Branch agency, may not be required

to “address certain claims,” namely that AFA rates are excessive. The Trade Court,

a unit of the Judicial Branch, would appear to be powerless to order Commerce to

consider Rimco’s challenge. In this regard, the touchstone of an Eighth Amendment

“excessive fines” challenge is the principle of proportionality. See United States v.

Bajakajian, 524 U.S. 321, 334, 336-37 (1997). An AFA determination divorced

from “commercial reality” is presumptively disproportionate to the conduct sought

to be addressed by the antidumping and countervailing duty statutes, which are said

to be remedial, rather than punitive in nature. See, e.g., Nucor Corp. v. United States,

414F. 3d 1331, 1336 (Fed. Cir. 2005).

      This Court considered extensively the question of Commerce’s obligation to

consider “commercial reality” in antidumping determinations in Nan Ya Plastics

Corp. v. United States, 810 F.3d 1333, 1344-1345 (Fed. Cir. 2016). The Court there

noted that Commerce had broad discretion, especially in setting AFA rates, but that

such discretion could be constrained by constitutional concerns:

      The court does not use "accurate" and "commercial reality" in some
      broader sense, such as to require Commerce to apply the statutory meth­
      ods to determine the industrywide "commercial realities prevailing"
      during a particular time period. Albemarle, 931 F. Supp. 2d at 1292.
      Nor must Commerce "prove a negative" about a respondent's pricing
      behavior if that respondent fails to provide evidence that would yield
      more representative calculations of its pricing behavior, see, e.g., Home
      Meridian Int'l, Inc. v. United States, 172 F.3d 1289, 1295 (Fed. Cir.
                                           10
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      2014), for the statute permits Commerce to use adverse facts available
      in that situation to assign the respondent a margin, 19 U.S.C. §
      1677e(b); see also PSC VSMPO-Avisma Corp. v. United States, 688
      F.3d 751, 760 (Fed. Cir. 2012) (explaining that "absent constitutional
      constraints or extremely compelling circumstances[,J the administra­
      tive agencies should be free to fashion their own rules of procedure and
      to pursue methods of inquiry capable of permitting them to discharge
      their multitudinous duties" (internal quotation marks, brackets, and ci­
      tation omitted)).

(emphasis added). See also Vt. Yankee Nuclear Power Corp. v. Natural Res. Def.

Council, Inc., 435 U.S. 519, 543-44 (1978).8



       8 The Trade Court’s case law also indicates that administrative challenges be­
fore Commerce to the agency’s use of AFA rates are, since the enactment of 19
U.S.C. § 1677e(d)(3), essentially futile. In Ozdemir Boru San to Tic Ltd. Sti v. United
States, 273 F. Supp. 3d 1225, 1248 (Ct. Int’l Tr. 2017) the Trade Court rejected a
challenge to an AFA rate, stating:
      Additionally, Ozdemir's commercial reality argument fails because it is
      contrary to plain statutory language. Ozdemir's case law citations,
      which interpret a prior version of the statute, do not persuade this court
      to read the current iteration of the statute contrarily to its unambiguous
      text. Commerce "is not required, for the purposes of subsection (c),"
      which covers corroboration of secondary information, "or for any other
      purpose ... to demonstrate that the countervailable subsidy rate . . .
      [used] reflects an alleged commercial reality of the interested party." 19
      U.S.C. § 1677e(d)(3) (emphasis added). As the current statute disclaims
      any obligation to consider an interested party's alleged commercial re­
      ality "for any ... purpose," there exists no basis upon which to conclude
      that such an analysis remains relevant with regard to industry-wide or
      program-wide considerations, as Ozdemir argues. Pl.'s Br. at 32; see
      Fresh Garlic Producers Ass'n v. United States, 39 CIT , , 121 F.
      Supp. 3d 1313, 1329, SLIP OP. 2015-133 (2015) (comparing TPEA §
      502(d)(3), 129 Stat, at 384, with Gallant Ocean, 602 F.3d at 1324).
      Commerce's decision not to rely on an interested party's "alleged com­
      mercial reality," § 1677e(d)(3), IDM at 5, when selecting an AFA rate
      was thus made in accordance with law.
                                          11
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      This case, however, raises the question of whether constitutional restraints

exist - specifically, the Eighth Amendment ban against “excessive fines.” The un­

precedented latitude accorded to Commerce with respect to AFA determinations in

19 U.S.C. § 1677e(d)(3) must yield to Eighth Amendment constitutional considera­

tions. This is a situation where no deference is due the agency.9


      The only question is whether it was appropriate for Rimco to raise its chal­

lenge by filing a 19 U.S.C. § 1514(a) protest against CBP’s collection of the exces­

sive fines in liquidation of an entry and invoke the Trade Court’s jurisdiction under

28 U.S.C. § 1581(a), or whether Rimco was required to brings its challenge to the

Trade Court under its 28 U.S.C. § 1581 (i) jurisdiction. Rimco filed this action in

conformity with the procedural requirements of both subsections.

      B.     Enactment of 19 U.S.C. § 1677e(d)(3) Removed Challenges to AFA
             Rates from the Scope of 19 U.S.C. § 1514(b)

      Section 1001 of the Trade Agreements Act of 1979, Pub. L. 96-39,96th Cong.,

1st. Sess., 93 Stat 144 et seq. (1979), amended section 514 of the Tariff Act of 1930,




       9 The Trade Court has sustained AFA determinations irrespective of commer­
cial reality, holding that they are lawful under the statute, i.e., 19 U.S.C. §
1677e(d)(3). See, e.g., TTInt’l Co. v. United States, 439 F. Supp. 3d 1370 (Ct. Int’l
Tr. 2020); Baoding Mantong Fine Chemistry Co. v. United States, 222 F. Supp. 3d
1231, 1239 (Ct. Int’l Tr. 2017). Neither of these cases raised the constitutional chal­
lenge asserted here, however.
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19 U.S.C. § 1514, by inserting therein Section 514(b), which rendered certain deci­

sions made by Commerce under the antidumping and countervailing duty statutes

final and non-protestable, to the extent those decisions were determinations “review­

able under section 516(a) of this title”, i.e., 19 U.S.C. § 1516a. However, the 2015

enactment of 19 U.S.C. § 1677e(d)(3) removed Commerce’s setting of AFA rates

from judicial review under § 1516a. Commerce is under “no obligation” to “address

certain claims” relating to AFA rates, including claims that such rates are excessive

because they do not approximate the commercial behavior of a non-cooperative re­

spondent or are divorced from a party’s “commercial reality.” All of Commerce’s

AFA determinations are now by definition “in accordance with law.”

      As Commerce is no longer any obligation to consider arguments that AFA

rates are excessive, no render determinations regarding them, judicial review of such

decisions under 19 U.S.C. § 1516a and 28 U.S.C. § 1581(c) is now foreclosed.

      AFA determinations may no longer be challenged as in violation of law. The

only remaining basis on which to challenge an AFA determination is that it is un­

constitutional, as Rimco has done here. The only remaining issue to be decided is

whether it was appropriate for Rimco to raise its claim by protest, so that the Trade

Court could decide it under its 28 U.S.C. § 1581(a) jurisdiction, or whether the court

should have entertained this action under its 28 U.S.C. § 1581 (i) “residual” jurisdic­

tion. There is, of course, a strong presumption that agency actions challenged as


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unconstitutional are subject to judicial review. See, e.g., Elgin v. Dep’t of the Treas­

ury, 567 U.S. 1, 35-36 (2012); Thunder Basin Coal Co. v. Reich, 510 U.S. 200, 215

(1994); Webster v. Doe, 486 U.S. 592, 603 (1988) (“where Congress intends to pre­

clude judicial review of constitutional claims, its intent to do so must be clear”).

      C.     Any attempt by Rimco to obtain an administrative review
             would have been futile.

      Any attempt by Plaintiff to attempt to receive an administrative review deter­

mination from Commerce on its Eighth Amendment Claim would have been futile

because Commerce lacks the ability to judge the constitutionality of its own deter­

minations. In addition, as an importer Rimco could not contribute to an annual re­

views to assist Commerce in calculating the margin of dumping or of countervailable

subsides from a foreign country. Commerce looks solely to foreign manufacturers

and exporters for such data, which must be submitted to the agency under a certifi­

cation of accuracy. See 19 U.S.C. § 1677m(b), 19 C.F.R. § 351.303(g). As such, any

attempt by Rimco to obtain a determination from Commerce that the rates at issue

were a violation of the Eight Amendment would have been futile ab initio.

      The Supreme Court recently said that it “has often observed that agency adju­

dications are generally ill suited to address constitutional challenges.” Carr v. Saul,

141 S. Ct. 1352, 1360 (2021). Over the history of administrative agencies many

courts have also ruled this issue in the same way. See McGrath v. Weinberger, 541

F.2d 249,252-53 (10th Cir. 1976); Getev.INS, 121 F.3d 1285,1291 (9th Cir. 1997);
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Schreiber v. McCament, 349 F. Supp. 3d 1063, 1082 (D. Kan. 2018); see also Oes-

tereichv. Selective Serv. Sys., 393 U.S. 233, 242 (1968) (Harlan, J., concurring). The

situation is no different in this case. Commerce lacks the ability to determine the

constitutionality of its own actions. Only Courts have such powers.

      In considering a similar issue, the Ninth Circuit has noted that “a record of

administrative appeal is not germane to the purely legal question of what standard is

most appropriate for such hearings.” Singh v. Holder, 638 F.3d 1196, 1203 fn. 3 (9th

Cir. 2011). The scenario in this case is the same; an administrative record from Com­

merce is not an appropriate way for Appellant’s constitutional claims to be heard.

The issue is a straightforward legal matter for consideration by a Court.

      Furthermore under the statute governing administrative reviews, 19 U.S.C. §

1675(a), Commerce’s role in an administrative review is limited to the review and

determination of the amount of any net countervailable subsidy and the amount of

any antidumping duties. See 19 U.S.C. § 1675(a)(l)(A)-(B). These determinations

are based on the information provided by foreign exporters and producers. As a do­

mestic importer, Rimco was powerless to provide any factual information to Com­

merce that would have prevented the application of AFA by the agency to the foreign

companies at issue in this review.

      To further the issue of futility, during the agency’s preliminary determination

in the case regarding countervailing duties, Commerce determined, on the basis of


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information supplied by one mandatory respondent, Xiamen Sunrise, a calculated a

preliminary countervailing duty rate of 58.75% ad valorem for this firm. Commerce

therefor posited an “all others” rate of 58.75% ad valorem, which covered shipments

from Rimco’s suppliers and which was used to calculate provisional duty deposits

during the investigation. See Certain Steel Wheels from the People’s Republic of

China: Preliminary Affirmative Countervailing Duty Determination and Alignment

of Final Determination with Final Antidumping Duty Determination, 83 Fed. Reg.

44,573 (August 31, 2018).

      The issuance of the Final CVD Determination was the first indication that

Commerce intended to base the “all others” rate on AFA rate. By the time Commerce

had made its determination to drive the “all others” rate unconstitutionally high, the

time to submit information to the agency for consideration had long past, as had the

time for interested parties to notice an appearance in the review. Any attempt by

Rimco to obtain put forth its Eighth Amendment claim to Commerce in the admin­

istrative review would have been futile because the agency did not make such a de­

termination until the conclusion of the administrative review.

      The antidumping review determination used only AFA rates, which as noted

above, are immune from legal attack. See Certain Steel Wheels from the People’s

Republic of China: Final Determination of Sales at Less-Than-Fair-Value, 84 Fed.

Reg. 11746 (March 28, 2019).


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II.   The CIT Has Jurisdiction Over this Case Pursuant to 28 U.S.C. §1581(a)


      The CIT’s governing statute gives it the discretion to require the exhaustion

of administrative remedies where appropriate. See 28 U.S.C. § 2637(d). However,

this Court has recognized an exception to the exhaustion requirement in cases where

pursuing administrative remedies would be futile or inappropriate. As noted in Aso-

ciation Comombiana de Exporadores de Flores v. United States, 916 F.2d 1571,

1575 (Fed. Cir. 1990):

      There is a well-settled exception to the exhaustion-of-administrative-
      remedies doctrine, however, which applies in this case. A party need
      not exhaust his administrative remedies where invoking such remedies
      would be futile. Bendure v. United States, 213 Ct. Cl. 633, 554 F.2d
      427, 431 (1977) ("Courts will, as a general rule, refuse to require ad­
      ministrative exhaustion when resort to the administrative remedy would
      be futile, including situations where plaintiffs would be 'required to go
      through obviously useless motions in order to preserve their rights.'")
      (citations omitted). See also Cooper v. Marsh, 807 F.2d 988, 990 (Fed.
      Cir. 1986) (Plaintiff challenging court martial conviction "need seek
      review only before military tribunals empowered to provide the remedy
      sought"); Randolph-Sheppard Vendors ofAm. v. Weinberger, 254 U.S.
      App. D.C. 45, 795 F.2d 90, 105 (D.C. Cir. 1986) (referring to "the fu­
      tility exception to the exhaustion requirement" and quoting the state­
      ment by Professor Davis in 3 K. Davis, Administrative Law Treatise §
      20.07 (1958), that the exception applies where "following the adminis­
      trative remedy would be futile because of certainty of an adverse deci­
      sion.").




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         In this case, for Rimco to have presented its challenge administratively before

Commerce would have been futile. Indeed, there would be no way in which Com­

merce could provide Rimco with relief on statutory grounds; the statute, 19 U.S.C.

§ 1677e(d)(3), effectively shields Commerce from any obligation to consider

Rimco’s arguments.

         However, Rimco is clearly entitled to judicial review of unconstitutional leg­

islation, or of alleged unconstitutional administrative actions taken pursuant to that

legislation. Maroszan v. United States, 852 F.2d 1469, 1477 (7th Cir. 1988) (citing

Oestereich v. Selective Service Sys., 393 U.S. 223, 237 (1968). See also, Johnson v.

Robison, 415 U.S. 361, 367-68 (1974); Gete v. INS, 121 F.3d 1285, 1291-92 (9th Cir.

1977).

         To this, the government argues at length that there is no protestable decision

by CBP, because certain decisions of the Commerce Department are excluded from

protestability. Thus, 19 U.S.C. § 1514(b) provides:

         (b)Finality of determinations

         With respect to determinations made under section 1303 [1] of this title
         or subtitle IV of this chapter which are reviewable under section
         1516a of this title, determinations of the Customs Service are final and
         conclusive upon all persons (including the United States and any officer
         thereof) unless a civil action contesting a determination listed in section
         1516a of this title is commenced in the United States Court of Interna­
         tional Trade, or review by a binational panel of a determination to
         which section 1516a(g)(2) of this title applies is commenced pursuant
         to section 1516a(g) of this title.


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(mphasis added) The short answer to this argument is that Commerce’s decision to

apply an AFA rate is no longer “reviewable under Section 1516a” of Title 19. As

noted above, Commerce is under no statutory obligation to entertain arguments that

an AFA rate does not reflect “commercial reality” or is a disproportionate measure

in response to a party’s failure to cooperate in an investigation or review. The CIT

is powerless to require Commerce to make such a determination “for purposes of

[19 U.S.C. § 1677e](c) or for any other purpose.” See 19 U.S.C. § 1677e(d)(3). Thus

- as a consequence of enactment of Section 502 of the TPEA of 2015 - a challenge

to an AFA rate is not a challenge which 19 U.S.C. § 1514(b) prohibits from being

raised by protest.

      To the extent a protest is a vehicle for challenging CBP’s liquidation of an

entry, it is an appropriate vehicle for challenging “the legality of all orders and find­

ings entering into” the liquidation decision. 19 U.S.C. § 1514(a). This includes the

orders and findings of Commerce which CBP carried out ministerially in liquidating

the entry - and which were not within the scope of the protest exemption of 19

U.S.C. § 1514(b).

      To be sure, CBP had no institutional competence to hold that Commerce’s

AFA rates, which CBP executed, were unconstitutional “excess fines” in contraven­

tion of the Eighth Amendment. The protest remedy is equally futile. But that does

not mean it may not be pursued. Rimco might have bypassed the protest process


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and presented its constitutional claimed directly to the CIT pursuant to 28 U.S.C. §

1581 (i)(4). But it is not unsuited for having followed the protest procedure. Swisher

International Corp. v. United States, 205 F.3d 1358 (Fed. Cir. 2000); see also

Nufarm ’s America Inc. v. United States, 29 C.I.T. 1317 (2005). Where Congress has

selected a remedy for constitutional injuries, courts should defer to its legislative

wisdom. Azar v, Ashcroft, 585 F.3d 599, 622 (2d Cir. 2009).

III.   Alternatively, The Trade Court Could Entertain this Action Under its 28
       U.S.C. § 1581(i) “Residual” Jurisdiction

       Finally, should the Court find that there was no protestable “decision” in this

case, plaintiff would not be unsuited. It would simply mean that the Trade Court

should exercise jurisdiction over Rimco’s challenge under its 28 U.S.C. § 1581 (i)

“residual” jurisdiction.10 That provision gives the Court jurisdiction over a wide

range of matters that are not neatly placed into its preceding grants of jurisdiction.




       10 28 U.S.C. § 1581 (i) provides:
       (1 )In addition to the jurisdiction conferred upon the Court of Interna­
       tional Trade by subsections (a)-(h) of this section and subject to the
       exception set forth in subsection (j) of this section, the Court of Inter­
       national Trade shall have exclusive jurisdiction of any civil action com­
       menced against the United States, its agencies, or its officers, that arises
       out of any law of the United States providing for—
             (A) revenue from imports or tonnage;
             (B) tariffs, duties, fees, or other taxes on the importation of mer­
             chandise for reasons other than the raising of revenue;

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      Just as this Court has held that constitutional challenges may be raised through

protest (see Nufarm America’s Inc. v. United States, 521 F.3d 1366, 1371 (Fed. Cir.

2007); Swisher International Inc. v. United States, 205 F.3d 1358 (Fed. Cir. 2000),

the Court has also entertained constitutional challenges pursued through the Trade

Court’s 28 U.S.C. § 158l(i) “residual” jurisdiction. See Totes Isotoner Corp. v.

United States, 594 F. 3d 1346, 1350-1351 (Fed. Cir. 2010); Thomson Consumer El-

ecs. Co. v United States, 247 F.3d 1210, 1215 (Fed. Cir. 2001); United States Shoe

Co. v. United States, 114 F.3d 1564, 1569 (Fed. Cir. 1997), affd 523U.S. 360

(1998).11

      Rimco having filed its action in accordance with the procedural requirements

of both 28 U.S.C. §§ 1581(a) and (i), this Court should remand this action with in­

structions for the Trade Court to entertain this action under the appropriate provision.


             (C) embargoes or other quantitative restrictions on the importat
                   ion of merchandise for reasons other than the protection of
             the public health or safety; or
             (D) administration and enforcement with respect to the matters
             referred to in subparagraphs (A) through (C) of this paragraph
             and subsections (a)—(h) of this section.
       11 Rimco submits that the protest remedy is available in this action. Should this
Court decide, however, that this case is less a challenge to Customs’ liquidation de­
cision, and the orders and findings entering into same, and more a challenge to Com­
merce’s liquidation instructions, we note that this Court has ruled that the Trade
Court has jurisdiction over challenges to liquidation instructions pursuant to 28
U.S.C. § 158 l(i). See, e.g., Shinyei Corp, ofAmerica v. United States, 335 F.3d 1297,
1305 (Fed Cir. 2004); Consol. Bearings Co. v. United States, 348 F.3d 997, 1002
(Fed. Cir. 2003).
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                                  CONCLUSION



      For the foregoing reasons, and those set forth in its principal brief, Plaintiff-

Appellant Rimco. Inc. respectfully requests this Court to vacate the Judgment and

Order of the CIT and to remand this matter for proceedings consistent with this

Court’s opinion.


                                              Respectfully submitted,

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                  CERTIFICATE OF COMPLIANCE WITH
                     TYPE-VOLUME LIMITATIONS

      I hereby certify that the foregoing Reply Brief of Plaintiff-Appellant, Rimco,

Inc., complies with the relevant type-volume limitation of the Federal Rules of Ap­

pellate Procedure and Federal Circuit Rules. It was prepared using a proportionally-

spaced typeface and includes 5,151 words.



                                              /s/ Patrick B. Klein
                                                 Patrick B. Klein

March 8, 2023




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                          CERTIFICATE OF SERVICE

      I hereby certify that on this 8llq day of March, 2023, I electronically filed the

foregoing Reply Brief of Plaintiff-Appellant, Rimco, Inc. with the Clerk of the Court

for the United States Court of Appeals for the Federal Circuit through the Court’s

CM/ECF system. Participants in this case who are registered CM/ECF users will be

served by the appellate CM/ECF system.



                                               /s/ Patrick B. Klein
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March 8, 2023




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